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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR08-244-RSL
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   ADAM CHRISTIAN SERRANO,              )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Possess with the Intent to Distribute Controlled

15 Substances

16 Date of Detention Hearing:     February 14, 2013.

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably

20 assure the appearance of defendant as required and the safety of other persons and the

21 community.

22 / / /



     DETENTION ORDER
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01         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02          1.     Defendant was extradited from Canada to appear on the current charges. He

03 was not interviewed by Pretrial Services.

04          2.     Defendant does not contest detention at this time. Upon presentation of new

05 and material information, not reasonable available at this time, defendant may ask this Court to

06 review the detention order.

07          3.     There does not appear to be any condition or combination of conditions that will

08 reasonably assure the defendant’s appearance at future Court hearings while addressing the

09 danger to other persons or the community.

10 It is therefore ORDERED:

11      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

12          General for confinement in a correction facility separate, to the extent practicable, from

13          persons awaiting or serving sentences or being held in custody pending appeal;

14      2. Defendant shall be afforded reasonable opportunity for private consultation with

15          counsel;

16      3. On order of the United States or on request of an attorney for the Government, the

17          person in charge of the corrections facility in which defendant is confined shall deliver

18          the defendant to a United States Marshal for the purpose of an appearance in connection

19          with a court proceeding; and

20      4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

21          for the defendant, to the United States Marshal, and to the United State Pretrial Services

22          Officer.



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01       DATED this 14th day of February, 2013.

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03                                                A
                                                  Mary Alice Theiler
04                                                United States Magistrate Judge

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     DETENTION ORDER
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